          Case 1:21-cr-00644-RDM Document 27 Filed 02/07/22 Page 1 of 3




                             UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               :
                                                       :
                                                       :
              v.                                       :       CASE NO. 21-CR-644-RDM
                                                       :
ADAM MARK WEIBLING,                                    :
           Defendant.                                  :

                                    JOINT STATUS REPORT

       The United States of America, through undersigned counsel, and Defendant, by and

through his attorney, Bruce H. Searby, Esquire (collectively, “the Parties”), respectfully submit

this status report, as directed by the Court, and state as follows:

        1.     On October 26, 2021, the defendant, Adam Mark Weibling was charged by way of

 information with (Count One) Entering and Remaining in a Restricted Building or Grounds in

 violation of Title 18 U.S.C. § 1752(a)(1); (Count Two) Disorderly and Disruptive Conduct in a

 Restricted Building or Grounds in violation of Title 18 U.S.C. § 1752(a)(2); (Count Three)

 Disorderly Conduct in Capitol Building in violation of Title 18 U.S.C. § 40(e)(2)(D); and (Count

 Four) Parading, Demonstrating, or Picketing in a Capitol Building in violation of Title 18 U.S.C.

 § 40(e)(2)(G). ECF 20.

        2.         The defendant has been out on bond since his May 25, 2021 arrest and remains

 compliant with conditions of release.

        3.     Since the Initial Appearance on June 3, 2021, the Court has ordered the exclusion

 of time from Speedy Trial calculations through February 7, 2022, collectively. The Court has

 also ordered parties to file a joint status report on or before February 7, 2022.


                                                   1
            Case 1:21-cr-00644-RDM Document 27 Filed 02/07/22 Page 2 of 3




       4.       Since the last Joint Status Report, the parties have discussed and reviewed the facts

of this case and the pending plea offer. The government agrees to extend the expiration date of

the current offer from February 8th to February 28th. Parties agree this additional time will allow

for continued review and consideration of evidence and the pending plea offer.

       5.       Since January 7, 2022, the government has provided sensitive or highly sensitive

discovery, termed Global Production No. 10, via USAFx. This discovery includes: (1) 10 videos

from the House Recording Studio including an authenticity certificate and a related FBI report

interview; (2) files from the DC Metropolitan Police Department’s (MPD’s) Electronic

Surveillance Unit including reports and videos; (3) MPD’s report of a specific U.S. Capitol Police

Officer’s use of force and accompanying attachments; (4) attachments to MPD’s Investigative

Reports concerning use of force; and (5) 10 videos from the Sente Recording Studio including an

authenticity certificate and a related FBI report interview. These materials (Global Production

10) along with previous productions (Global Productions 8, 9 and portions of No. 2) have also

been shared to the defense Relativity workplace. The government is in the process of transferring

Global Productions Nos. 1 through 7 (previously provided via USAFx) to the defense Relativity

workspace.

       6.       In addition to Global Production materials, on January 28, 2022, the following

items among others were produced to the defense Relativity workspace:              8 Capitol Police

sensitive audio files of Capitol Police radio communications and redacted transcripts; a

spreadsheet listing start times of Arlington County Police pole camera videos; 18,484 anonymous

tip files and related documentation to the MPD Tipline; 3 interview reports and 4 related files

regarding Safeway Grocery stores and interstate commerce; and 3 sensitive files regarding the


                                                  2
             Case 1:21-cr-00644-RDM Document 27 Filed 02/07/22 Page 3 of 3




security of Vice President Pence. Defense counsel has been offered access to this defense

Relativity workspace via the Federal Public Defender’s (FPD’s) office in DC. Through the FPD

office, defense counsel also has access to evidence.com to access voluminous video files. Note,

pursuant to protective order in this case (ECF 11), parties remain complaint with discovery

designated as Sensitive or Highly Sensitive.

        7.       Parties are agreed to a 30-day continuance of this matter and to excluding the time

within which the trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.

Parties believe this time will allow for further production and review of discovery and facilitate

resolution of this case short of trial.

                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052

                                                      ___/s/____________________
                                                      GRACIELA R. LINDBERG
                                                      Assistant United States Attorney
                                                      Texas Bar No. 00797963
                                                      11204 McPherson Road, Suite 100A
                                                      Laredo, Texas 78045
                                                      956-754-9350
                                                      graciela.lindberg@usdoj.gov


                                                      _/s/___________________________
                                                      BRUCE H. SEARBY
                                                      1627 Connecticut Avenue, NW, Suite 4
                                                      Washington, DC 20009
                                                      202-849-2122
                                                      bsearby@searby.law




                                                  3
